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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT TACOMA

 7
       BRANDON THOMAS ROBERTS,
 8                          Plaintiff,
 9         v.
10     CITY OF BAINBRIDGE ISLAND;
       MATTHEW HAMNER, Chief of the                   C21-5165 TSZ
11     Bainbridge Island Police Department,
       in his personal capacity; DALE                 MINUTE ORDER
12     JOHNSON, in his personal capacity;
       WELLPATH, LLC f/k/a CORRECT
13     CARE SOLUTIONS, LLC; KITSAP
       COUNTY; and JOHN and JANE DOES
14     1-30,
15                          Defendants.

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        The following Minute Order is made by direction of the Court, the Honorable
17 Thomas S. Zilly, United States District Judge:
         (1)  The parties’ stipulated motion to continue the trial date, docket no. 43, is
18
     GRANTED as follows:
19
            JURY TRIAL DATE (7-9 days)                           September 12, 2022
20
            Deadline for amending pleadings                      October 18, 2021
21
            Disclosure of expert testimony                       January 21, 2022
22

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 1
           Discovery motions filing deadline                    March 10, 2022
 2
           Discovery completion deadline                        April 15, 2022
 3
           Dispositive motions filing deadline                  May 19, 2022
 4
           Deadline for filing motions related to expert
                                                                May 26, 2022
 5         testimony (e.g., Daubert motions)
           Motions in limine filing deadline                    August 11, 2022
 6

 7         Agreed pretrial order due                            August 26, 2022
           Trial briefs, proposed voir dire questions, and
 8                                                              August 26, 2022
           jury instructions due
 9                                                              September 2, 2022
           Pretrial conference
                                                                at 10:00 a.m.
10

11        (2)     The provisions of the Minute Order Setting Trial and Related Dates entered
   on May 18, 2021, docket no. 22, concerning any alteration of the case schedule and the
12 need for counsel to be prepared to commence trial on the date set, the agreed pretrial
   order and the form of the exhibit list to be included therein, the numbering of trial
13 exhibits, and immediate communication to the Court of any settlement remain in full
   force and effect.
14       (3)     The Clerk is DIRECTED to update the docket to reflect that David A.
   Weibel, counsel of record for plaintiff, is at the law firm of Templeton Horton Weibel &
15 Broughton PLLC d/b/a Kitsap Law Group and to send a copy of this Minute Order to all
   counsel of record.
16
         Dated this 23rd day of September, 2021.
17

18                                                   Ravi Subramanian
                                                     Clerk
19
                                                     s/Gail Glass
20                                                   Deputy Clerk

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     MINUTE ORDER - 2
